                    IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF KANSAS

In re:

MARK H. ENGEN                                                           Case No. 15-20184-rdb-13
MAUREEN E. ENGEN

              Debtors.


 MOTION TO APPROVE A PROPOSED DISTRIBUTION OF PROCEEDS FROM AN
     INHERITED 401(K) PLAN TO DEBTORS, AND FOR COMPENSATION

   COME NOW Debtors, by and through their attorney, David A. Reed, Esq., and move the

Court pursuant to §105(a) of Title 11 for an order permitting Debtors to liquidate all or a portion

of a 401(k) account recently inherited from Maureen Engen’s father, in order to meet family

expenses.

   IN SUPPORT THEREOF Debtors suggest to the Court as follows:

   1. Debtors filed their original petition for relief under Chapter 13 on February 4, 2015; to

date, no plan has yet been confirmed, although payments are being made.

   2. Earlier this year, Maureen’s father passed away, leaving an estate, including a 401(k)

plan; pursuant to the participant’s beneficiary designation, 10% or the exact sum of $73,269,34

was transferred to an account in the name of Maureen by the plan administrator, General Mills,

the former employer of the late John J. Mahoney.

   3. Although Maureen became entitled outside the scope of § 541(a)(5), the inheritance is still

presumably bankruptcy estate property under § 1306(a)(1) not otherwise subject to exemption,

relying upon the District Court opinion from In re Mosby, Case No. 15-9153-JWL [2015 U.S.

Dist. LEXIS 149505, October 15, 2015, which in turn takes its cue from the U.S. Supreme Court

interpreting an analogous federal exemption statute in Clark vs. Rameker, 134 S. Ct. 2242



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(2014)].

   4. Accordingly, a disposable income analysis under § 1325(b) appears to be unavoidable.

   5. Regardless, the Amended Form 122C filed on February 6, 2016 shows that Debtors

have a negative monthly budget using the Means Test of $1,122.33 per month, or the equivalent

of $67,339.80 over their 60-month ACP; this is largely due to the fact that Debtors are being

forced to accelerate the rate at which they must pay their home mortgage, in order to stay ahead

of an acceleration clause in their mortgage contract which would otherwise trigger during the

same 60-month ACP.

   6. For above-median debtors, the result of the Means Test was intended to govern what, if

any, disposable income debtors might have and thereby be required to pay into their plan

[Ransom vs. FIA Card Services N.A., 131 S. Ct. 716, 178 L. Ed 2d 603 (2011)]; in this

case, after adjusting for an estimated 10% tax penalty, there wouldn’t be any.

   7. Debtors need the extra income from the inherited 401(k) to defray living expenses now

being deferred by their rather substantial plan payment, as well as to assist in educational

expenses while their children enroll in college at the University of Kansas at Lawrence.

   8. Attorney fees of $450.00 are requested for the prosecution of this motion, to be paid

through the plan.

    WHEREFORE, Debtors pray for an order allowing them to liquidate Maureen’s

inherited 401(k) and meet expenses during the balance of their 60-month ACP.


__/s/ David A. Reed________
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BKLAW@swbell.net
Attorney for Debtors



                                CERTIFICATE OF SERVICE

    I hereby certify that a true and correct copy of the foregoing motion was mailed, postage
prepaid, and addressed to the following on this 7th day of August, 2016: Debtors, William H.
Griffin, Trustee, and all other interested parties per PACER.

___/s/ David A. Reed_______
David A. Reed #14581 KS




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